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Mcintosh & Otis Inc. 17/86 & 1/11 — 117830.000

AGREEMENT made this 24th day of October 1994, by and between:

Elaine Steinbeck

c/o McIntosh & Otis Inc. (Attention: Eugene Winick)
310 Madison Avenue
New York, New York 10017 ~

the Author and/or Proprietor, party of the first part (the “Author’), and
VIKING PENGUIN, A DIVISION .OF PENGUIN BOOKS USA _ INC., 375

Hudson Street, New. York, New York 10014, party of the second part (the
“Publisher"), respecting:

nincteen ‘books by John Steinbeck:

Work #1 CUP OF GOLD

Work #2 THE PASTURES OF HEAVEN

Work #3 TO A GOD UNKNOWN

Work #4 THE RED PONY

Work #5 TORTILLA FLAT

Work #6 IN DUBIOUS BATTLE

Work #7 OF MICE AND MEN

Work #8 THE LONG VALLEY

’ Work #9 THE GRAPES OF WRATH

Work #10 THE FORGOTTEN VILLAGE

Work #11 OF MICE AND MEN - (play)

Work #12 THE GRAPES OF WRATH JOURNAL - WORKING DAYS

Work #13 .VIVA ZAPATA :

Work #14 VIVA ZAPATA - THE LITTLE TIGER . (to be published under

. 8/1/91 rider) ©

Work #15 THE JOURNAL OF A NOVEL

Work #16 THE SEA OF CORTEZ (with Edward F. Ricketts)

Work #17 STEINBECK: A LIFE IN LETTERS (Elaine Steinbeck
with Robert Wallstein)

Work #18 THE SHORT NOVELS OF JOHN STEINBECK (to the extent of
TORTILLA FLAT, THE RED PONY, OF MICE AND MEN) .

Work #19 THE PORTABLE STEINBECK (to the extent of THE LONG VALLEY, |
THE PASTURES OF HEAVEN, TORTILLA FLAT, IN DUBIOUS
BATTLE, OF MICE AND.MEN, THE RED PONY, THE LONG
VALLEY, SEA OF CORTEZ)

(cach book being separately referred to as the “Work"), whereas Publisher has
published the above listed books. under existing contracts and whereas for an
additional consideration the parties have agreed to enter into a new agreement
for continued publication of the above fisted books, it is mutually agreed

between the Author “s the Publisher with respect to cach Work as folloy

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EXHIBIT

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_ Case 1: 04- -cv-05497-GBD Document 110-15 Filed 10/15/08 Page 2 of 19
Contraet For Steinbeck titles . tage 2

PART ONE

©} , Publication

Rights

1. The Author hereby grants and assigns to the Publisher for the remaining
term of copyright, and such renewals or extensions thercof as may now or
hereafter exist, the sole and-exctusive cight to publish the Work in volume form
in the English language throughout the United States. its territories and
dependencies, the Philippines and Canada: such rights shall be non-exclusive in

the rest of the world outside the British Commonwealth of Nations (excluding
Canada),

The Author also grants to the Publisher such further rights as are specified
hereinafter. The phrase “in volume form". shall be defined as meaning publication
of the Work as a whole, or substantially complete, as a unit or at one time.

Delivery of
Manuscript
2. DELETED

Permissions,
Clearances
3. DELETED

Proof
Corrections

© Agreement to

Publish

4. DELETED

5. DELETED
Copyright

6. The Publisher shall carry the original copyright registration and the
copyright renewal notices in each edition of the Work.

- The Author, or the Publisher on the Author's behalf and at its option, shall
apply for renewals (if applicable to the Work) whenever they fall due. Both |
parties agree to execute, at any time, all such papers and documents as may be -
advisable, in the Publisher's opinion, in order to protect, assign, record,
renew, or otherwise effectuate the rights hercin, whethen granted to the
Publisher or reserved by the Author.

Advance
7, The Publisher shall pay to the Author, as a guaranteed advance against
and on account of all moneys accruing to him under this agreement, yearly
payments in the following amounts, such payments to be made in two equal
installments on or before April 30 and October 31 of cach year. The first
payment will be made in October, 1994 or on signing of this agreement, whichever
is later.

Year number 1 $435,500.
Year number 2 $435,500.

, Year aumber 3 $385,250.
Year number 4 $385,250.

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*age 3

Year number 5 $385,250.
Year number 6 $335,000.
Year number 7 and thereafter® $335,000.

*Beginning in the seventh year and each. year thereafter, it is understood and
agreed that the $335,000. payment will be adjusted annually by the Publisher
based on an increase in the National Consumer Price Index (the US city average
for all urban consumers) or its successor equivalent, with a cap of 10 percent
on any such annual ddjustment.

The guaranteed advance shall also be adjusted annually so that if, in any year,
the carnings payable to the Author exceed the guaranteed advance for that year
(“excess earnings"), the amount of the guaranteed advance for the following year
only shall be restated by adding a sum equal to the excess earnings from the
preceding year to the guaranteed advance. The annual guaranteed advance shall
not be adjusted downward for any shortfall by operation of this paragraph.

The above payments taken together with payments due Author under separate
agreements with Elaine Steinbeck and Thomas Steinbeck dated October 24, 1994 for
other Steinbeck works provide for a guaranteed advance payment of $650,000. -

in years | and 2, $575,000. for years 3, 4 & 5, and $500,000. in year 6

and thereafter. .

If at any time the Publisher determines that payment of the annual guarantee is
not economically feasible for Publisher to continue, the Publisher and. Author
agree to negotiate in good faith as to a reduced annual guarantee. If no
agreement can be reached this agreement will terminate upon Publisher’s written
notice. to the Author subject to Pubtisher’s right to sell off existing inventory
of the Work for a period of 18 months from the date of such termination.

Royalties:
Regular Sales ; :
8 Except as set forth in Clause 20, the Publisher agrees to pay the
Author a royalty on the invoiced retail price of every copy sold by the
Publisher, less copies returned (except as set forth below):

HARDCOVER EDITION.
” 15 percent
TRADE PAPERBOUND EDITION

10 percent for the following titles -
THE GRAPES OF WRATH
OF MICE AND MEN
(whether sold separately or in 2-in-1 volume
with CANNERY ROW; although CANNERY ROW is covered
by a separate agreement, a single royalty shall apply to
the invoiced retail price of the 2-in-1 volume) ”
THE RED PONY
(whether sold separately or in 2-in-1
volume with THE PEARL; although THE PEARL is
covered by a separate agreement, a single
royalty shall apply to the invoiced retail price of
the 2-in-! volume)

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8 percent for the following titles -
TO A GOD UNKNOWN
TORTILLA FLAT
© IN DUBIOUS BATTLE
@ ; THE LONG VALLEY

7 percent for the following titles -
CUP OF GOLD
THE PASTURES OF HEAVEN
; THE FORGOTTEN VILLAGE
e , OF MICE AND MEN (play)
- THE GRAPES OF WRATH JOURNAL - WORKING DAYS
VIVA ZAPATA
VIVA ZAPATA - THE LITTLE TIGER
THE JOURNAL OF A NOVEL
THE SEA OF CORTEZ
STEINBECK: A LIFE IN LETTERS
e THE SHORT NOVELS OF JOHN STEINBECK
THE PORTABLE STEINBECK.

MASS MARKET PAPERBOUND EDITION

15 percent for the following titles -
@ THE GRAPES OF WRATH
OF MICE & MEN
(whether sold separately or in 2-in-1
volume with CANNERY ROW; although CANNERY ROW is covered
a separate agreement, a single royalty shall apply to the

invoiced retail price of the 2-in-1 volume)
e © : : THE RED PONY .

(whether sold separately or in 2-in-1

volume with THE PEARL; although THE PEARL is covered
by a separate agreement, a single royalty shall

apply to the invoiced retail price of the 2-in-! volume)

10 percent for the following titles -
e TO A GOD UNKNOWN

TORTILLA FLAT

IN DUBIOUS BATTLE

THE LONG VALLEY

8 percent for the following titles -

@ CUP OF GOLD

THE PASTURES OF HEAVEN

THE FORGOTTEN VILLAGE
OF MICE AND MEN (play)
THE GRAPES OF WRATH JOURNAL - WORKING DAYS
VIVA ZAPATA

e VIVA ZAPATA - THE LITTLE TIGER -
THE JOURNAL OF A NOVEL
THE SEA OF CORTEZ
STEINBECK: A LIFE IN LETTERS
THE SHORT NOVELS OF JOHN STEINBECK |
THE PORTABLE JOHN STEINBECK

be included in such computation.

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@ Copies covered by any of the following subdivisions of this Clause 8 shall not
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@ :
Sales of Sheets
: (2) On sates of sheets to. prebinders: a royalty of ten percent of the ‘net
amount that the Publisher receives;
© Mail order '
e Premium
(b) On copies sold. direct to the consumer through the medium of mail-order
coupon advertising or direct-by-mail circularization and on premium
Sales: a royalty of five percent (5%) of the net amount that the
Publisher receives; ,
sd Export /Canadian
Sales .
. (c) On copies sold in Canada, or for export, whether in bound copies or in
sheets, a royalty of ten percent (10%) of the net amount Publisher
receives. .
\ —
@ Sales at

High Discounts

(d) On copies sold at discounts of more than fifty percent (50%) of
the invoiced retail price for hardcover and trade Paperback editions
and at discounts of more than sixty percent (60%) of the invoiced
retail price for mass market paperback editions, a royalty of ten

e Percent (10%) of the net amount that the Publisher receives;

Notwithstanding the foregoing, should the Publisher's retail and whole-
sale trade discount Policies ever exceed fifty percent (50%) of the

paperback editions, the full regutar royalty rate would apply on all
domestic sales governed by such policies.

Cheap Hardcover
Edition
(c) On copics sold of any cheap hardcover edition which Publisher publishes
e at a price not more than two-thirds of the suggested retail price, a
royalty of ten percent of the act amount Publisher receives, If the
Work is published. in a single combined ("omnibus") edition with other ‘
’ works by the Author, Publisher shall pay Author a Pro-rata share of the
applicable royalties as set forth in this paragraph based on the
© Proportion the Work comprises of such omnibus edition.

Sales from Later
tmall Editions

(f} On copies sold from a reprinting of three thousand (3,000) or fewer
hardcover copies or trade paperback copies or five thousand (5,000) or
fewer mass market Paperbound copies made two years or more after first

rT publication of the Work, it being understood that such reprintings will
not be made more than once a year: one-half of the Prevailing royalty
rate then in effect; this reduced royalty is provided because of the
increased cost of manufacture of smatt reprintings, to enable the
Author and the Publisher to keep the Work in print and in circulation

as long as possible; and may be terminated upon six (6) months notice
e from Author.

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, Nonroyalty

(g) On copies furnished gratis to the Author, or for review, advertising,
Sample, or like Purposes, or on copies destroyed by firé or water or
other means, or ON Copies sold at or below Cost, no royalty shall be

Author's Copies

9. The Author shall have the tight to Purchase copies for Personal use,
but not for resale, at forty Percent (40%) discount. Such Purchases Shall be
_ baid for within thirty (30) days of the date of the Publisher's invoice,

Audio-Visuat

exclusive or nonexclusive as specified in the Brant of territory in Clause 1),
ta produce, manufacture, sell, distribute, exhibit, and transmit derivative
versions of the Work in any audio form provided it is a single Voice, non-
dramatic reading of the text and/or visual form Provided -it is a non-dfamatic,
non-iilustrative, Non-animated display of the text only, including, without
limitation, film, Strips, Phonograph records, tapes, telecartridges, computer
software, and other information and Storage retrieval systems:

a royalty to be mutually agreed in 800d faith between Publisher and Author |
referencing to standard industry rates;

rental market, such rights having already been granted by Author to Books on
Tape, but shall hot be otherwise restricted except that both the Publisher and
Books on Tape shall have the nonexclusive rights to distribute the audio .
recordings in the library and Specialty rental markets.

Publisher's exercise of these rights will in no way conflict with Author's
exercise of television/motion picture sights, ,

machen fick thall have arioc anncovsl of the stint and the artwork an
packaging of any audio visual versions of the Work,
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ights .
il. The Publisher Shall also have the following tights in the English

language (to be exclusive or nonexclusive as specified in the territorial grant
in Clause 1), with respect to which the Publisher alone may make arrangements

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Reprint

(a) Paperbound*
(50%) of said
Publisher;

hardcover, or large-type reprint publication: fifty percent
receipts. to the Author and fifty percent (50%) to the

* Paperbound licenses to a ‘third Party shall be subject to the approval
of the Author, or his agent acting on Author's behalf, such approval
not to be varcasonably withheld, except (i) withholding of approval
cannot be used to veto one Penguin USA paperback im

third party which is disapproved by the Author, or his agent acting on

Author's behalf, thereby putting the Work out of print and rights

subsequently revert to the Author pursuant to the provisions of Clause

8A, the Author and/or his agent cannot license Paperback rights to that

party within twelve months of Author's, or his agent acting on Author's
e behalf, disapproval of Publisher’s proposed license,

Book Club

(b) Book-club publication: fifty percent (50%) of said receipts to the
Author and fifty percent (50%) to the Publisher;

. First Serial .
e (c) DELETED

Second Serial, .
Anthology, etc. ‘

(d) Periodical publication, including without limitation magazine, news-

e paper,-and digest after. book publication, reprinting in whole or in
part or excerpts or digests (but not abridgments which are prohibited)
in anthologies or other volumes, pamphlets, etc, and public readings:

fifty percent (50%) of said receipts to the Author and fifty percent ‘
(50%) to the Publisher; .

Audio-Visual
®

(ec) Reproduction of the text or any adaptation of the work, or any
derivative versions thereof, in any audio form provided it is a single
voice, non-dramatic reading of the text. and/or visual form provided it
is a non-dramatic, non-illustrative, non-animated display of the text
only (other than by motion picture, radio or television, or in storage
and retrieval systems), including without limitation fitm “Strips, pho-

@ nhograph records,. telecartridges and tapes: seventy five percent (75%)
of said receipts to the Author and twenty five percent (25%) to the

Publisher; No performance rights are granted in connection with such
rights. ,

Publisher acknowledges that specif. ically excluded from the
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audiorecording rights granted herein is the right to distribute the
@ . audiorecordings in the mail-order rental market, such rights having

already been granted by Author to Books on Tape, but shall not-be

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Television
Motion Picture
® and Dramatic
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®

Data Storage
and Retrieval

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Commercial Use
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Use by the

Handicapped
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Editions in
English Abroad

Translation

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otherwise restricted except that both the Publisher and Books on Tape
shall have the nonexclusive right to distribute the audio recordings in
the library and speciality rental markets.

Elaine Steinbeck shall have prior approval of the script and artwork
and packaging of any audio visual version of the Work,

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In the event of the disposition of performance rights, the Publisher

- @erees to grant to the purchaser the privilege to publish excerpts and

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12.

‘retrieval,

summaries of the Work or of any-motion picture, dramatic, or television
version of the Work, in the aggregate not to exceed ten percent (10%)
of the text (but not more than 7,500 words), for advertising and ex-
ploiting such rights, provided that all steps necessary to protect the
copyright of the Work ace taken and that the Publisher is credited as
the publisher of the Work.

Use of the text only in non-dramatic, non-illustrative, non-animated
display through computer software and in other information storage and
retrieval systems, whether through computer, mechanical, or other elec-
tronic means now known or hereafter invented and ephemeral screen-
flashing or reproduction thereof, whether by printout, photo-reproduc-
tion or photocopy, including without limitation punch cards, microfilm,
Magnetic tapes, or like processes attaining similar results: seventy
five percent (75%) of receipts to the Author and twenty five percent
(25%) to the Publisher: , -

Elaine Steinbeck shall have prior approval of the script and artwork
and packaging of any versions of the Work for data storage and

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Publication or transcription of the Work in whole or in part without
charge in braille, tapes, or other forms for use by the physically
handicapped: none.

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Rights Reserved
by Author / .
14, All rights not specifically granted to the Publisher under this agree-
ment are reserved by the Author.
®
Publicity ;
15. DELETED
Space
e Advertising :
16. Commercial advertisements (other than a list of other works published
by the Publisher or its licensees) may not be inserted or printed in any edition
. of the Work without the Author's prior written consent.
Accounting and
Payment .
e 17. The Publisher agrees to render semiannual statements of accounts ona

work-by-work basis on the hardcover edition to April 30 and October 31! of each
year, on or before August 31 and February 28 following, and Statements of
account on the paperbound edition published by the Publisher shall be rendered
to June 30 and December 31 of each year, on or before October 31 and April 30
following, and the Publisher agrees to accompany such statements with checks in
payment of the amounts due thereon. In making accountings, Publisher shall have
@ the right to allow for a reasonable reserve against returns to be defined as a
reserve sufficient in light of the actual return Percentage in the sale of the
Work and to be adjusted accordingly in each accounting period. After two years
following the publication date regular royalty statements and payments need not
be issued by the Publisher until accumulated carnings from all sources, due and
‘ : payable, exceed $10.00, unless requested in writing by the Author. Should the
@ © _ Author receive an overpayment, the Author agrees that the Publisher may deduct
such amount from any further earnings of the Work, it being understood that an
- unearned advance is not an “overpayment."

Works #1 = #19 will be jointly accounted and no sums, other than the yearly
Buarantees due pursuant to Clause 7, will be paid to the Author until the total
amount (cumulative from the first payment) paid in guarantees to the Author has
® . been earned from all sums accruing to the Author hereunder on Works #1 - #19 at
the end of each royalty period.
& /
The Author may, upon written request, ¢xamine or cause to be examined through:
certified public accountants the Publisher's books of account insofar as they
@ : relate to the sale or licensing of the Work, provided such examinations are ~
, limited to one per year and take place during regular business hours. Such
examination shall be at the Author's expense, unless errors of accounting
amounting to more than five percent (5%) of the total sums accrued to the Author
shall be found to the Author's disadvantage, in which case the reasonable cost
of the examination shall be borne by the Publisher, and payment of the amount
e@ duc shall be made within thirty (30) days thereafter. ~

Option on Other
Work

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Termination of
Previous Agreements

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McIntosh & Otis Inc. 78 & Tu

19. This agreement, when signed b
supercede the Previous agreements,
hereunder.

y Author and Publisher, will cancel and
as amended, for the Works #1 - #19 covered

20. Inasmuch as this Agreement does not include all the contents of Work

#18 and Work #19, fifty percent of the royalty specified for Work #18 THE SHORT
NOVELS OF JOHN STEINBECK, and seventy five percent of the royalty specified for

Work #19, THE PORTABLE STEINBECK, will be due the Author hereunder.

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Author's

Guarantee

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PART TWO

1A, The Author represents and warrants that John Steinbeck is the sole
author of the Work; that the Author is the sole owner of all rights granted
hereunder; that the Author has not sold, licensed, assigned, or otherwise
encumbered, and will not sell, license, assign, or otherwise encumber, any of

‘such rights; that the Author has full power to enter into and to perform this

agreement; that, except for any material expressly permitted or cleared pursuant

.to Clause 3 of Part One, the Work is original, and is not in- the public domain;

that the Work in no way. violates any copyright or‘ proprietary or contract: or

‘personal right of others, and that it contains nothing unlawful, libelous, or

obscene. In the event of any claim, action, or proceeding based upon an alleged
violation of any of these warranti¢s, (a) the Publisher shall have the right to

‘defend the same through counsel of its own choosing; (b) the Author shall hold

harmless the Publisher, any seller of the Work, any licensee of a subsidiary
right in the Work, and any other person to whom the Publisher or its licensces
may extend the representations and warranties contained herein in connection
with the production or distribution of the Work or the exercise of any rights
therein or derived therefrom, against any damages and expenses (including réa-
sonable legal fees ahd expenses) arising from the breach of alleged breach of
any of the foregoing warranties. If any such claim, action, or proceeding is
instituted, the Publisher shall promptly notify the Author, who shall fully
cooperate in the defense thercof, and the Publisher may withhold payments of
reasonable amounts due the Author under this agreement between the parties.
These warranties and indemnities s shall survive the termination | of this
agreement. :

. Publisher agrees to designate Author as to the Work as an additional insured in

any Errors and Omissions insurance policy which Publisher may purchase at its
expense covering its book publishing activity and shall, except as limited
hereinbelow, look solely to the proceeds of such insurance coverage for payment.
of any sums that may become due from Author by reason of the indemnification
undertaken by the Author hereinabove regarding risks which are covered by
Publisher’s Errors and Omissions insurance policy except if the'Author’s breach
of warrantics sect forth hereinabove is done wilfully. Author's obligation to
indemnify Publisher shall be limited to thirty-seven thousand, five hundred
dollars ($37,500) which sum is Jess than one-half (1/2) of the one hundred
thousand dollar ($100,000) deductible presently in effect on the Errors and
Omissions insurance policy. Notwithstanding the foregoing, Author acknowledges
that the limits of liability may effectively be decreased or exhausted as a
result of occurrences during a year related to other works and other additional
insureds and that Author’s liability to Publisher in excess of such coverage is -
not affected hereby. In consideration for the foregoing, Author agrees that they
will fully cooperate with Publisher in the defense of any such claims, the
Publisher and/or its insurer shall have the right to select counsel, and that
Publisher shall have the right to settle any claim upon the termg_and conditions
it and/or its insurer deems satisfactory.

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Defense of
Copyright
© 2A. In case of any infringement of the copyright of the Work by others, the
. Publisher may in its discretion sue or employ such remedies as it deems expe-
dicat, and all such suits or proceedings shall be at the Joint expense of Author
and Publisher, and the net proceeds of any recovery shall be divided equally
between them, but the Author shall not be liable for any expenditure for such
Purposes in excess of one thousand dollars ($1,000.00) undertaken by the Pub-
‘lisher without the Author's previous consent in writing. If the Author does not
consent to all expenditures for such purposes, any recovery shall be divided
between the Publisher and the Author in the ratio of their respective expendi-
tures for such purposes. .
Competitive
Material
3A, DELETED ~
Prior
Publication

4A. DELETED

Default by the
Publisher

5A. If the Publisher should fail to pay undisputed monies duc or to deliver
Statements as agreed (unless such failure is due to a good-faith dispute between —
the Author and the Publisher) within 60 days from the date of written demand by
© : the Author or his/her representatives, this agreement shall be canceled and all
rights in the Work granted herein shall revert to the Author forthwith and ,
without further notice, and without prejudice to monies due to the Author from
the Publisher.

Author's
Property
6A. DELETED
Revised Edition "
7A, DELETED :

Termination of
this Agreement

8A. Should the Publisher fail to keep in print any one of Works #1! through
#19 or any of the other Steinbeck works which are the subject of a separate
agreement with Elaine Steinbeck and Thomas Steinbeck dated October 24, 1994 and
after written demand from the Author decline or negtect to bring such Work back
into print within one year, the Publisher's rights shall terminate hereunder as
well as terminate for the other Steinbeck works which are the subject of a
Separate agreement with Elaine Steinbeck and Thomas Steinbeck dated October 24,
1994, provided that all obligations of the Author to the Publisher have been
met. Upon the effective date of termination, the Publisher shall have the right
to dispose of any copies remaining on hand of the in print Works and any copies
in process of the Works covered hereunder as well as any other in print or in
@ Process Stcinbeck works which arc the subject of a separate agreement with
Elaine Steinbeck and Thomas Steinbeck dated October 24, 1994 subject to the

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Termination
Under U.S. Law

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‘ payment of royalties as provided hereunder and as provided in the agreement with

Elaine Steinbeck and Thomas Steinbeck dated October 24, 1994. It is understood -
that any Work shall be considered to be in print if any hardcover or softcover
publication rights granted hereunder are being exercised or are under contract

to be exercised.

If, any time after first publication, the Publisher wishes to discontinue
publication for any reason of any Work which is the subject of this agreement or
a Separate agreement with Elaine Steinbeck and Thomas Steinbeck dated October
24, 1994, the Publisher may do so upon written notice to the Author, in which
event this agreement and the other agreements for the Steinbeck works dated
October 24, 1994 with Elaine Steinbeck and Thomas Steinbeck shall terminate and
all rights granted hereunder shall revert to the Author upon the termination
date set forth in such notice from the Publisher. If such termination occurs,
the provisions of the immediately following Paragraph of this Clause 8A shall
apply.

For thirty (30) days after the date of such termination, the Author shall have

the right, but not the obligation, to acquire ftom the Publisher (a) any print-

er's materials under the control of the Publisher, at the fair market valuc

thereof; and/or (b) any inventory of the work under the control of the Publish-

er, at the manufacturing cost of last printing. If the Author docs not exercise
such right within such thirty (30) days, the Publisher may dispose of any such
materials or inventory without any further obligation to the Author. "s

9A. If Elaine Steinbeck exercises her right to terminate grants made to
Publisher in this agreement (in accordance with Section 304(c) of Title 17 of
the U.S. Code) and if the Terminating party(ies) fail(s) to enter into an
agreement with Publisher for Publisher to continue to publish the terminated
work(s), then Publisher may take the following actions:

l. The amount by which the Guaranteed Advance Payments exceed royalties duc
and/or paid to all Authors from the date of this contract until the date a
Notice of Termination is received by Publisher ("Excess Guaranteed Payments")
shall be catculated on a work-by-work basis (pro-rated in Proportion to the
royalties generated by each work during the period). The amount of the Excess
Guaranteed Payment-attributable to the terminated work (even if received by
other than the terminating party) shall be, at Publisher's option, recoverable
by Publisher from any royaltics and/or further Guaranteed Advance Payments owed
to the terminating party or parties (as pro-rated) from that date forward, on
account of the terminating party(ies)'’s interest in the terminated work (if any)
during the period between notice of termination and recapture and/or on account
of the terminating party(ies)'s pro-rata interest in any non-terminated works
that are the subject of this agreement.

2. Ino addition to the right te recapture the excess over carnings ¢ on Guaranteed
Advances as provided above, in the event the terminating party(ies) wish to
transfer the recaptured rights to a third party, they shall first offer them to
Publisher in the following manner:

(i) If terminating party(ies) decide(s) to accept a bona fide offer with
respect to all or part of the terminated work(s) then in cach such instance
terminating party(ies) shall, promptly after deciding to accept such offer, give
Publisher written notice specifying such terms and conditions which terminating
party(ics) is(arc) prepared to accept and ‘the name(s) of the third party who
made the offer to terminating party(ies). At any time within fifteen (15) days

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after receipt of such written’ notice from terminating party(ies), Publisher may
notify terminating Party(ies) in writing of its acceptance of such offer and, in
such event, the rights referred to in such offer shall be assigned to Publisher,

© subject to Publisher's ‘compliance with the terms of the offer so accepted. If
Publisher shall acquire from terminating party(ies) all or part of ‘the

e@ terminated work(s), then both parties agree to enter into a written agreement

with respect thereto,

Bankruptcy and
Liquidation

10A. In the event that the Publisher shall be adjudicated a bankrupt, a
receiver or a trustee shall be appointed for all or substantially all of the
Publisher’s Property, and the order appointing the receiver or trustee shall not
have been vacated within sixty (60) days from its entry, or if the Publisher
e shall seck to take advantage of any so-called insolvency law, all rights hereby -
granted to the Publisher shall forthwith revert to the Author, and this agree-
ment shall thereupon terminate.

Governing Law

: HA, This agreement shal! be interpreted under the laws of the State of New
@

York applicable to contracts entirely made and performed therein. Any dispute

between the Author and the Publisher relating to this agreement and/or the Work,

if it cannot be Settled by mutual agreement between the Author and the Pub-

lisher, shall be submitted solely to the Federal. or State courts sitting in New

York City, or courts with appellate jurisdiction theref rom, and the Author and

the Publisher both consent to the jurisdiction and venue of such courts for such
e Purpose.

Complete
dgreement

412A. This agreement constitutes the complete understanding of the parties,
and no waivers or modifications of any provision shall be valid unless in
writing, signed by the Author and the Publisher. The waiver of a breach or of a
e default under any provision hereof shall not be deemed a waiver of any subse-
quent breach or default. The payment of any advances or royalties hereunder
shall not be deemed a waiver by the Publisher of any rights and/or claims that

it may have with Fespect to nonperformance by the Author of the Author's obliga-
tions hereunder.

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Assignment ,

{3A. This agreement shall be binding upon the heirs, executors, or adminis-
trators of the Author, and upon the Successors and assigns of the Publisher. The
© Author shall not assign this agreement, or obligations hereunder, without the
Prior written consent of the Publisher. The: Publisher shall have the right on
@ . notice to Author to assign this agreement, or its rights and obligations here-
under, only to a company acquiring all or substantially all of the Publisher’s
assets. The Author shall have the tight to assign any amounts due hereunder to
the extent such amounts become due after the Publisher has received written
notice from the Author of such assignment.

@ Agency
Clause .

14A. All sums of money due under this agreement shall be paid to the
Author’s agent, McIntosh & Otis, Inc., 310 Madison Avenue, New York, New York
10017 and the receipt of the said McIntosh & Otis, Inc. shall be a good and
valid discharge of all such indebtedness; and the said McIntosh & Otis, Inc. is
® ; hereby empowered by the Author to get in-all matters arising from and pertaining
to this agreement.

The Author does hereby irrevocably assign and transfer to Mcintosh & Otis, Inc.
and McIntosh & Otis, Inc. shall retain a sum equal to ten percent (10%) out of

all monies due and payable to and for the account of the Author under this
e agreement. .

IN WITNESS WHEREOF the parties hereto have hereunto set their hands and seals
the day and year first above written.

e © IN/THE PRESENCE OF: ELAINE STEINBECK.

Ebene bo Suuifeue

 

Witness

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Witness Barbara Grossman
e Senior Vic€ President ALAN J. KAUFMAN
Be isher, Viking Senior Vice President & General Counse!

 

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° VPL - If Mcintosh & Otis Inc. 1/86 & 7/11 117830.000
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Exhibit B los
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NOTICE OF TERMINATION

Karen Meyer, Esq. Received
Viking Penguin, a division of Penguin Books, USA

375 Hudson Street JUN 24 2004
New York, New York 10014 Karen R Mayer

Estate of Elaine Steinbeck
clo McIntosh & Otis, Inc.
323 Lexington Ave.

New York, New York 10016

PLEASE TAKE NOTICE that pursuant to 17 U.S.C. §304(d), Thomas Steinbeck and

Blake Smyte, he-being the sole surviving chiid of deceased alithor John Steinbeck, and she
being the sole surviving child of deceased John Steinbeck IV, who was the only other child of
deceased author John Steinbeck, terminate grants made to you before J anuary |, 1978 in the

 

works described below:
Title . Author Date Copyright Copyright Effective Date
Secured ~ (Renewal) of Termination
Reg. # 7
Cup of Gold © John Steinbeck August 2,1929 A:12065 July 1, 2006
(R:155442) ~
The Pastures of Heaven ~ John Steinbeck A:56747 Nov. 1, 2007
(R:262343)
The-Red Pony and all stories John Steinbeck Sept. 24,1937 A:109632 Sept. 25, 2012
included therein; namely: (R:359892)
“The Gift” John Steinbeck Oct. 18,1933 38:204366 Oct. 19, 2008
(R:265334)
“The Great Mountains” John Steinbeck Nov. 16, 1933 B:206800° — Nov. 17, 2008
(R:271364)
“The Promise” John Steinbeck July 20,1937 _B:345443 July 21, 2012
(R:345803)
To A God Unknown John Steinbeck Sept. 15,1933 A:66672 Sept. 16, 2008
(R:26781)
Tortilla Flat John Steinbeck. May 28,1935 ~~ A:84009 May 29, 2010
In Dubjous Battle John Steinbeck Jan. 28,1936 A:91536 Jan. 29, 2011
(R:319085)
Of Mice And Men John Steinbeck Feb. 26,1937 A:102928 —- Feb. 27, 2012
(R:342179)
Of Mice and Men (Play) John Steinbeck Dec. 10, 1937 DP:53848 Dec. 11, 2012
(R:359895)
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Title

e The Long Valley and all

stories included therein,
namely:

“Chrysanthemums”
“White Quail”
® “Flight”
“Snake”
“Breakfast”
“Raid”
OT ata ate ee
e “Vigilante”
’ “Johnny Bear’.
“Murder”
“Saint Katy The Virgin"
“Red Pony” (In 3 parts)
“Leader of the People”

The Grapes of Wrath

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Date Copyright Copyright - Effective Date
Secured ©

(Renewal) of Termination

John Steinbeck — Sept. 16, 1938 (A:121979) Sept, 17, 2013

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John Steinbeck
John Steinbeck

John Steinbeck April 14,1939 _A:129068 April 15, 2014

(R:359895)

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(R:359892)

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e dated May 19, 1949 between John Steinbeck and Viking Press, Inc.; and 3) all other -

° Dated: News, 2004

Doses 10

teinbeck and Viking Press, Inc., or its predecessors in
ignors before January 1, 1978, as well as all amendments,

 

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[alate CyB,
Blake Smyle QO

pated {VILL 13-2004

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by Thomas Steinbeck
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